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(https://americancourtsurfacing.com)
                           American
                           Court Surfacing




    O U R S E RV I C E S

    At American Court Surfacing, we provide
    complete court construction services for
    facilities in Southern California.




        Resurfacing                                                                                     

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        Construction                                                                                    

        On-Site Estimate                                                                                

        Accessories                                                                                     

        Water Blasting

        Tennis Court and Basketball Court Surface Removal With Hydroblasting

        Old and failing court surface material is removed with 10,000 psi water blasting
        surface removal machines.




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                 cfqg.jpg?           pg?time=1613780594)          time=1613780594)
            time=1613780594)


        Hydroblasting the old surface allows for a complete renovation from the bottom up.
        By accessing below the surface, we can deal with any underlying foundation issues
        to build a stronger and more durable, longer-lasting court.


        Striping                                                                                        




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